     Case 2:14-cv-02234-TLN-DMC Document 258 Filed 08/07/19 Page 1 of 2

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 8                              UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
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11    SHARIDAN STILES, an individual,               No. 2:14-cv-02234-MCE-DMC
      STILES 4 U, INC., a California
12    corporation,
13                     Plaintiffs,                  ORDER
14           v.
15    WALMART INC., and AMERICAN
      INTERNATIONAL INDUSTRIES,
16
                       Defendants.
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18
19          Plaintiffs Sharidan Stiles and Stiles 4 U Inc.’s Request to Seal Documents (ECF

20   No. 234) previously came before this Court, to which Defendants Walmart Inc. and

21   American International Industries (“Defendants”) filed a Response agreeing with

22   Plaintiffs’ request. ECF No. 236. Thereafter, the Court granted the request (ECF

23   No. 242) by executing the proposed order filed by Plaintiffs. ECF No. 234-1. Curiously,

24   however, in response to the Court signing her own proposed order, Plaintiff filed Motions

25   for Reconsideration (ECF Nos. 243, 246) contending that Defendants did not proffer any

26   evidence in support of sealing Exhibits 1-5, 25, 29, and 37 to Plaintiffs’ Motion.

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     Case 2:14-cv-02234-TLN-DMC Document 258 Filed 08/07/19 Page 2 of 2

 1          To the extent that Plaintiffs’ proposed order (ECF No. 234-1) requested the
 2   sealing of Exhibits 1-5, 25, 29, and 37 without proper basis, the Court acknowledges that
 3   its order sealing of these documents was made in error. Accordingly, the Court’s earlier
 4   Order (ECF No. 242) is AMENDED as follows: Exhibits 1-5, 25, 29, and 37 to Plaintiffs’
 5   Motion Seeking Leave to Join Additional Defendants (ECF No. 232) are UNSEALED and
 6   shall be filed publicly on the docket. Plaintiffs’ pending Motions for Reconsideration
 7   (ECF No. 243, 246) are DENIED as moot.
 8          IT IS SO ORDERED.
 9   Dated: August 6, 2019
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